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               U.S. District Court for the Northern District Of Illinois
                             Attorney Appearance Form


 Case Title: )HGHUDO7UDGH&RPPLVVLRQHWDO   Case Number:            1:23-cv-3053
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An appearance is hereby filed by the undersigned as attorney for:
International Center for Law & Economics and 11 Scholars of Antitrust Law and Economics
Attorney name (type or print): Jeffrey A. Lamken

Firm: MoloLamken LLP

Street address: 600 New Hampshire Avenue, N.W.

City/State/Zip: Washington, D.C., 20037

 Bar ID Number: DC Bar # 440547                        Telephone Number: 202-556-2010
 (See item 3 in instructions)

Email Address: jlamken@mololamken.com

Are you acting as lead counsel in this case?                                     Yes       ✔ No
Are you a member of the court’s general bar?                                     Yes       ✔ No
Are you a member of the court’s trial bar?                                       Yes       ✔ No
Are you appearing pro hac vice?                                              ✔ Yes             No

If this case reaches trial, will you act as the trial attorney?                  Yes       ✔ No
If this is a criminal case, check your status.

                                                                  Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                       Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on August 30, 2023

Attorney signature:        S/ Jeffrey A. Lamken
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised //2023
